                   UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION
                       Case Number: 5:21‐cv‐00497

STEPHEN PAUL KREUZ,

                                Plaintiff,
                                                   COMPLAINT
v.

CAROLINA FINANCE, LLC,                             JURY TRIAL DEMANDED
NC RECOVERY SERVICES, INC., and
MANHEIM REMARKETING, INC.

                               Defendants.

I.    INTRODUCTION

      1.     “The tenderest feelings of the human heart center around the

remains of the dead.” Lamm v. Shingleton, 231 N.C. 10, 15 (1949).

      2.     For reasons unknown, the Defendants and their agents turned an

unremarkable vehicle repossession into the theft and probable destruction of

Plaintiff Stephen Kreuz’s mother’s remains, his Bible, and other valuable and

significant items of personal property.

      3.     This action is brought by Plaintiff Stephen Paul Kreuz against

Defendants Carolina Finance, LLC, NC Recovery Services, Inc., and Manheim

Remarketing, Inc. for violations of federal, state, and common law.



           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 1 of 47
II.    JURISDICTION

       4.     Jurisdiction arises under 28 U.S.C. §§ 1331, 1334, and 1367. See Houck

v. Substitute Tr. Services, Inc., 791 F.3d 473, 483 (4th Cir. 2015). Venue is proper as

all relevant events occurred here.

III.   PARTIES

       A.     Plaintiff Stephen Kreuz

       5.     Plaintiff Stephen Kreuz is an individual who generally resides in

Raleigh, North Carolina. Mr. Kreuz was the debtor in the bankruptcy case In re

Kreuz, 20‐03229‐5‐SWH (Bankr.E.D.N.C.).

       6.      Mr. Kreuz owns and drives a 2010 Dodge Ram (the “Vehicle”),

which was and is his primary method of travel.

       7.     Mr. Kreuz was a person concerning which a case under Title 11 of

the United States Code had been commenced.

       8.     At all times relevant hereto, Mr. Kreuz was a “debtor” as defined by

11 U.S.C. § 101(13).

       9.     Mr. Kreuz was a natural person who incurred a debt or alleged debt

for personal, family, household or agricultural purposes, i.e., a debt for the

purchase of a vehicle used for personal purposes.




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 2 of 47
      10.     At all times relevant hereto, Mr. Kreuz was a “consumer” as defined

by N.C.Gen.Stat. 75‐50(1).

      B.      Defendant Carolina Finance, LLC

      11.     Defendant Carolina Finance, LLC (“Carolina Finance”) is a limited

liability company with its principal office located in Kinston, North Carolina.

      12.     Carolina Finance had a claim against Mr. Kreuz that arose at the

time of or before Mr. Kreuz filed his Voluntary Petition under Chapter 13 of the

Bankruptcy Code.

      13.     At all times relevant hereto, Carolina Finance was a “creditor” as

defined by 11 U.S.C. § 101(10).

      14.     Carolina Finance engaged, directly or indirectly, in debt collection

from a consumer.

      15.     At all times relevant hereto, Carolina Finance was a “debt collector”

as defined by N.C.Gen.Stat. 75‐50(3).

      C.      Defendant NC Recovery Services, Inc.

      16.     Defendant NC Recovery Services, Inc. (“NC Recovery”) is a

repossession company with its principal office located in Benson, North

Carolina.




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 3 of 47
      17.     NC Recovery engaged, directly or indirectly, in debt collection from

a consumer.

      18.     At all times relevant hereto, NC Recovery was a “debt collector” as

defined by N.C.Gen.Stat. 75‐50(3).

      19.     At all times relevant to this Complaint, NC Recovery was acting as

the authorized agent of Carolina Finance.

      20.     Alternatively, NC Recovery was acting as an independent actor and

without the knowledge or authority of Carolina Finance.

      D.      Defendant Manheim Remarketing, Inc.

      21.     Defendant Mannheim Remarketing, Inc. (“Manheim”) is an auction

company and provider of end‐to‐end wholesale vehicle solutions. Its clients

include automotive dealerships to banks, car rental agencies and auto

manufacturer.

      22.     Manheim is a corporation organized under the laws of the State of

Delaware, with its principal office in Atlanta, Georgia.

      23.     Manheim has locations across the country, including four in North

Carolina, one of which is in Kenly, North Carolina.




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 4 of 47
      24.     Manheim engaged, directly or indirectly, in debt collection from a

consumer.

      25.     At all times relevant hereto, Manheim was a “debt collector” as

defined by N.C.Gen.Stat. 75‐50(3).

      26.     At all times relevant to this Complaint, Manheim was acting as the

authorized agent of Carolina Finance.

      27.     Alternatively, Manheim was acting as an independent actor and

without the knowledge or authority of Carolina Finance.

IV.   FACTUAL ALLEGATIONS

      28.     After their parents divorced when he was six years old, Mr. Kreuz

and his sister moved with their mother Angela Pate to Watha, North Carolina.

      29.     Ms. Pate had serious health problems for most of her life, beginning

with a terrible back injury in her late teens, which worsened, leading to eleven

herniated discs. She had high blood pressure, Type II diabetes, and, for the last

decade of her life, chronic obstructive pulmonary disease. At the age of fifty‐one,

while laying in bed at home, she suffered a heart attack and passed away. Mr.

Kreuz was twenty‐six at the time of her passing.




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 5 of 47
      30.     Ms. Pate did not leave a written authorization for the disposal of her

body, as permitted by N.C.Gen.Stat. 130A‐420(a).

      31.     Ms. Pate did not have a surviving spouse. Therefore, her children

were the sole persons authorized to determine the type, method, place, and

disposition of her body. See N.C.Gen.Stat. 130A‐420(b).

      32.     Ms. Pate had discussed her wishes with her kids – Mr. Kreuz and his

sister Kelly – several times over the years. She wanted to be cremated, with one‐

third of her ashes given each to Stephen and Kelly for each of them to choose

what to do with. She wanted Stephen and Kelly to take the remaining third of the

ashes and spread them on Mackinac Island.

      33.     Mackinac Island was Ms. Pate’s favorite place. She loved that no

vehicles were permitted – only bicycles and horses. She had visited Mackinac

several times, including with Mr. Kreuz’s father. It reminded her of the movie,

Somewhere in Time, and often made her think she was born too late and missed

out on those simpler times.

      34.     Mr. Kreuz and his sister instructed Riverview Crematory to split

their mother’s ashes into three portions.




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 6 of 47
      35.     Consistent with instructions from Mr. Kreuz and his sister,

Riverview Crematory split Mr. Kreuz’s mother’s ashes into three bags and put

them in into a black, plastic container.

      36.     The black, plastic container was well made. It had rigid sides, and a

sturdy lid that closed on top. When held upside down, the lid did not open, nor

did the bags fall out.

      37.     The North Carolina Administrative Code, Title 21, Chapter 34,

Subchapter C, Section .0205, states:

              In addition to the requirements of G.S. 90‐210.29A, the
              crematory or hydrolysis licensee shall attach a typed or
              printed label to the initial container, urn or other
              permanent container at the time the cremated or
              hydrolyzed remains are placed therein. If an inside and
              outside container are used, then both shall be labelled
              [sic]. The label shall contain the name of the decedent,
              the date of cremation or hydrolysis, and the name of the
              crematory or hydrolysis licensee.

21 N.C. Admin. Code 34C.0205.

      38.     Consistent with that Section of the NC Administrative Code,

Riverview Crematory affixed a large label to the black, plastic container, which

extended from the top over to the front side, and stated:




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 7 of 47
                                  THIS CERTIFIES
                            the cremated remains in this
                                container are those of
                              Angela Marie Pate
                     Cremation # 852 Date of Death 12/4/2016
                         Date of Cremation 12/7/2016
                             Riverview Crematory

      39.     Although they had never themselves been to Mackinac Island, Mr.

Kreuz and his sister wanted to fulfill their mother’s wishes and spread a third of

her ashes there. In addition to fulfilling her wishes, they knew that they would

feel closer to their mother by spending time together at her favorite place and

spreading her ashes. Unfortunately, Mr. Kreuz’s sister had not been able to travel

since moving and so Mr. Kreuz retained the third of their mother’s ashes that she

had desired to be spread over Mackinac Island.

      40.     Mr. Kreuz also had the other third of his mother’s ashes for which

she had intended he decide what to do with. He had planned to utilize the

services of one of the unique companies that turns human ashes into jewelry. He

had planned to give these pieces of jewelry to his nieces – his sister’s daughters;

his mother’s granddaughters.

      41.     Mr. Kreuz and his sister carefully cut the label so that she could take

one of the bags of their mom’s ashes with her when she moved to Montana. The




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 8 of 47
label remained legible after they cut the label. Mr. Kreuz retained the other two

bags in the same container and maintained possession of them until his Vehicle

was repossessed.

        42.     Mr. Kreuz brought his mother’s ashes with him everywhere he

went.

        43.     Several times, Mr. Kreuz drove to Ohio to see family, always

bringing his mom with him.

        44.     Another time, Mr. Kreuz flew with her to Montana to see his sister

Kelly, who had moved there after their mother passed.

        45.     During one of those trips to Ohio, Mr. Kreuz received a gift that

brought meaning to him and helped him stay closer to his mother in the years

since her passing.

        46.     When he visited family in Ohio, he always made a point to attend

worship at a church in the area. Although he did not live there, he and many of

the parishioners came to know each other quite well. He attended Bible study

there any chance he could.




              Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 9 of 47
      47.   During one visit – on his birthday – a pastor approached Mr. Kreuz,

handed him the Bible, and told him that an anonymous parishioner wished to

give it to him. It even had his name engraved on it.

      48.   Mr. Kreuz had held onto that Bible ever since, reading it to help

grow in his faith. He kept his favorite photo of his mother in it and used it as a

bookmark. He loved being able to look at his mother while reading his Bible, to

be with his mother while reading the Bible, to remind him why he was doing it –

so that he could be with her again some day.

      49.   The Bible and the photo of his mother were taken from him only

because they were both in the Vehicle when it was repossessed and Defendants

did not maintain or return them to him.

      50.   On July 19, 2019, Mr. Kreuz and Inline Auto Sale Inc. entered into a

Retail Installment Sale Contract that memorialized and controlled the

relationship between Mr. Kreuz and Inline Auto Sale Inc. regarding the purchase

and financing of the Vehicle, and which included the rights, duties, and

responsibilities of each party to the contract (“the RISC”). Both Mr. Kreuz and an

authorized agent of Inline Auto Sale Inc. duly signed the RISC.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 10 of 47
      51.     Each amount owed or contemplated to be owed under the RISC is a

“debt” as contemplated by the North Carolina Debt Collection Act, N.C.Gen.Stat.

§ 75‐50(2).

      52.     Inline Auto Sale Inc., through an authorized agent, assigned without

recourse its interest in the RISC to Carolina Finance.

      53.     Upon accepting assignment of the RISC from Inline Auto Sale Inc.,

Carolina Finance was bound by its terms and in all instances required to comply

with the duties and responsibilities previously imposed by the RISC on Inline

Auto Sales Inc.

      54.     The RISC stated:

              3.    IF YOU PAY LATE OR BREAK YOUR OTHER
                    PROMISES
              ***
              d.    We may take the vehicle from you. If you
                    default, we may take (repossess) the vehicle from
                    you if we do so peacefully and the law allows it.
                    ***
                    If any personal items are in the vehicle, we may
                    store them for you at your expense. If you do not
                    ask for these items back, we may dispose of them
                    as the law allows.
              e.    How you can get the vehicle back if we take it. If
                    we repossess the vehicle, you may pay to get it
                    back (redeem). We will tell you how much to pay
                    to redeem. Your right to redeem ends when we
                    sell the vehicle.



         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 11 of 47
             f.      We will sell the vehicle if you do not get it back.
                     If you do not redeem, we will sell the vehicle. We
                     will send you a written notice of sale before
                     selling the vehicle.

RISC, p. 3, ¶¶ 3d, 3e, 3f.

      55.    The RISC did not include as part of the collateral the personal

property contained in the Vehicle.

      56.    Mr. Kreuz did not consent, contractually or otherwise, to the

incidental taking of his personal property.

      57.    Mr. Kreuz has worked for MasTec for over two years, installing and

servicing telephone and internet equipment inside people’s homes.

      58.    Due to the Covid‐19 pandemic, there was a work slowdown and Mr.

Kreuz was forced to find a second job. Mr. Kreuz began delivering pizzas in the

Vehicle for Marco’s and then for Domino’s.

      59.    Mr. Kreuz had been living with a roommate when the living

situation became toxic in a way that, despite his best efforts, was beyond his

control and he was forced to leave to protect himself from the problems caused

by that situation.

      60.    His Vehicle provided Mr. Kreuz with shelter to sleep and a locked

and secure environment to store a modest number of personal possessions.



         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 12 of 47
       61.     At times, he was able to stay one or two nights during the week at a

Best Western. Its accommodations allowed him to clean up periodically.

       62.     On September 11, 2020, Mr. Kreuz had a rough day, including an

argument with a co‐worker. Despite having brought his mother’s ashes with him

into the Best Western every single time previously, this one time he hastily

parked his truck and went inside to clean up and get some sleep. The next

morning, Saturday, September 12, he awoke to find his truck gone. After calling

911, he concluded that it had been repossessed.

       63.     That same day – Saturday, September 12 – Mr. Kreuz called Carolina

Finance. Not able to reach anyone, he left a message.

       64.     On Monday, September 14, 2020, Crystal with Carolina Finance

called and left a message for Mr. Kreuz, and he returned her call the same day.

       65.     During that telephone call, when Crystal asked Mr. Kreuz, “what

can I do for you?” Mr. Kreuz, replied, “My truck was repossessed and I was

just trying to see what I gotta do to be able to get it back, and my stuff that was in

it, too.”




            Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 13 of 47
      66.   Crystal later stated, “Hereʹs the telephone number to contact them in

regard to try to recover your belongings” and provided the number,

ʺ919.607.5373.ʺ Mr. Kreuz read it back to her to confirm.

      67.   The number provided to Mr. Kreuz by Crystal, 919.607.5373, is the

number to NC Recovery.

      68.   That same day, Mr. Kreuz called NC Recovery and spoke to a

representative of NC Recovery.

      69.   Mr. Kreuz told NC Recovery’s representative that he had several

personal possessions in the Vehicle that he needed to get back. She told Mr.

Kreuz that the Vehicle was located in Wilson, North Carolina, and that he would

have to make an appointment to pick up his personal property in Wilson.

      70.   Mr. Kreuz told NC Recovery’s representative that he would call

back to make an appointment after he arranged for transportation to Wilson.

      71.   Over at least the following five days, Mr. Kreuz called NC Recovery

daily, at different times during the day, to make an appointment to pick up his

personal property. None of his calls were answered by NC Recovery, so he left

several voice mails. Despite leaving several voice mails, no one from NC

Recovery called him back.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 14 of 47
      72.     After five consecutive days of unreturned calls, Mr. Kreuz started to

feel that NC Recovery was intentionally not returning his calls and worried that

he would need to speak to an attorney.

      73.     During his online research, Mr. Kreuz discovered the option of

bankruptcy.

      74.     During his online research, he also discovered that there were

complaints online against NC Recovery, including on the website of the Better

Business Bureau, and including a claim that personal property had been missing

from a person’s vehicle.

      75.     Despite his repeated calls to NC Recovery – made after having told

NC Recovery that he had personal property in the Vehicle that he needed to pick

up – NC Recovery did not provide him the opportunity to recover that property,

nor did it store those possessions as required by the RISC.

      76.     NC Recovery obtained possession of the Vehicle while Mr. Kreuz’s

mother’s ashes were still in the Vehicle.

      77.     NC Recovery obtained possession of the Vehicle while Mr. Kreuz’s

personal property was still in the Vehicle.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 15 of 47
      78.    On September 24, 2020, Mr. Kreuz filed a Voluntary Petition under

Chapter 13 of the United States Bankruptcy Code (“the Petition”) in the United

States Bankruptcy Court for the Eastern District of North Carolina. In re Kreuz,

20‐03229‐5‐SWH (Bankr.E.D.N.C.). The Vehicle was listed on Schedules A/B, C,

and D, indicating, among other things, that Carolina Finance held a security

interest in the Vehicle. Docket # 1, pp. 16, 22, 26. All references to “Docket __”

refer to those docket entries in In re Kreuz, 20‐03229‐5‐SWH (Bankr.E.D.N.C.).

      79.    Mr. Kreuz also included the Vehicle in his Statement of Financial

Affairs for Individuals Filing for Bankruptcy, Docket # 1, p.10‐11, ¶ 10, indicating

that the Vehicle had been repossessed by the creditor Carolina Finance, and that

a motion for turnover would be filed.

      80.    The Vehicle was property of Mr. Kreuz’s bankruptcy estate.

      81.    Each item of personal property inside Mr. Kreuz’s vehicle was

property of Mr. Kreuz’s bankruptcy estate.

      82.    Mr. Kreuz filed a proposed Chapter 13 Plan that included a

redemption of the Vehicle through payment in full of Carolina Finance’s claim.

Docket # 2, p. 2, ¶ 3.4.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 16 of 47
      83.     On the same day the Petition was filed – September 24, 2020 – Joe

Nichols, an employee of Mr. Kreuz’s attorney’s office, called Carolina Finance

and spoke with Chief Compliance Officer Harvey Kirk. Mr. Kirk added Mark

Mocnik to the call, and stated that Mr. Mocnik had possession of the Vehicle. Mr.

Nichols informed Messrs. Kirk and Mocnik of Mr. Kreuz’s bankruptcy filing and

his plan to redeem the Vehicle. Mr. Kirk stated that the vehicle may have already

proceeded to auction. Mr. Nichols requested the auction/sale‐related notices

required by the Uniform Commercial Code. Mr. Kirk did not provide them.

      84.     After the telephone call, on September 24, 2020, Mr. Nichols emailed

to Messrs. Kirk and Mocnik a letter with the bankruptcy case number and other

information, as well as Schedule D and Mr. Kreuz’s proposed plan of repayment.

      85.     On September 24, 2020, Mr. Kirk emailed Mr. Nichols, copying

attorney Rebecca Leigh, stating that Carolina Finance would auction the vehicle.

      86.     On September 25, 2020, Carolina Finance was formally served with

Mr. Kreuz’s proposed Chapter 13 Plan. Docket # 8.

      87.     On September 26, 2020, the Bankruptcy Noticing Center served

Carolina Finance via email with the Notice of Chapter 13 Bankruptcy Case.

Docket # 9.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 17 of 47
      88.   On September 29, 2020, Mr. Kreuz filed a Motion for Turnover,

requesting, among other things, that Carolina Finance be ordered to turn over to

him possession of the Vehicle. Docket # 12.

      89.   On September 29, 2020, Mr. Kreuz also filed a Motion to Expedite

Hearing, which was granted by the Bankruptcy Court the same day. Docket # 10,

11.

      90.   On October 5, 2020, Carolina Finance filed a Response to the Motion

for Turnover. Docket # 16.

      91.   In its Response to the Motion for Turnover, Carolina Finance

admitted:

            A.    that Carolina Finance, through its agents, repossessed the
                  Vehicle. Docket # 12, ¶ 6; 16, ¶ 3.

            B.    that, as of September 24, 2020, the Vehicle had not been
                  disposed of. Docket # 12, ¶ 7; 16, ¶ 3.

            C.    that, despite having been served on September 26, 2020, via
                  email with the Notice of Chapter 13 Bankruptcy Case,
                  Carolina finance sold the Vehicle at action on September 28,
                  2020. Docket # 16, ¶ 21.

      92.   Carolina Finance attached to its Response to the Motion for

Turnover the RISC, which reflected the same rights, duties, and responsibilities

described and quoted supra.



        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 18 of 47
      93.   On October 6, 2020, the Bankruptcy Court held a hearing on Mr.

Kreuz’s Motion for Turnover, at which his counsel Jason Watson and Carolina

Finance’s counsel Rebecca Leigh appeared.

      94.   At the hearing on October 6, 2020, Carolina Finance, through

counsel, admitted:

            A. that on September 14, 2020, Carolina Finance received a
               telephone call from Mr. Kreuz during which he inquired as to,
               among other things, his personal property.

            B. that when Carolina Finance received a telephone call from Mr.
               Kreuz’s attorney’s office (after filing his bankruptcy petition), the
               Vehicle had not been sold yet.

            C. that NC Recovery was at all times acting as the agent of Carolina
               Finance.

            D. that Carolina Finance’s “best information…it’s gathered up into
               trash bags and disposed of; now, disposed of probably includes
               somebody throws the tools in the back of their truck.”

      95.   At the hearing on October 6, 2020, regarding the whereabouts of Mr.

Kreuz’s valuable personal property that had been in the Vehicle at the time of

repossession, the following exchange took place:

      Judge Humrickhouse: “I don’t think anybody is gonna throw away a
      generator, or a dehumidifier, or good cables/jumper cables, and a good
      tool box.”




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 19 of 47
      Counsel Rebecca Leigh: “We certainly speculated on that point as
      well…you know, is there somebody who stocks their pawn shop with
      what’s taken out of vehicles at auction. But for our purposes, we have no
      information; again, we will certainly research it further, but our best
      information at this point in time is actually yes it’s gathered up into trash
      bags and disposed of…now, disposed of probably includes somebody
      throws the tools in the back of their truck.

      96.   On October 16, 2020, the Bankruptcy Court entered an Order for

Turnover. Docket # 18.

      97.   The Order for Turnover made, among others, the following factual

findings:

             a.   “Carolina Finance, through its agents, repossessed the Dodge
      Ram and all personal belongings contained in the Dodge Ram from the
      Debtor pursuant to Chapter 25 of the North Carolina General Statutes; and
      that the Dodge Ram had not been disposed of as of the date of the filing of
      this Chapter 13 case on September 24, 2020.”

            b.     “At the time Carolina Finance repossessed the Dodge Ram,
      the Debtor had his personal belongings contained inside the Dodge Ram
      including: Debtor’s Mother’s Ashes in a black rectangular container,
      Husky socket wrench, Tone generator, 30 shirts, 5 tan work pants, tool bag
      containing assorted tools including screw drivers, wrenches, and assorted
      small piece tools, 1 fan, 1 small dehumidifier/air cooler, paper copies of tax
      records and paystubs, other personal documents, 3 winter coats, 5 pairs of
      shorts, long yellow and black jumper cables, Holy Bible with Debtor’s
      name engraved on it with a picture of Debtor’s Mother used as a book
      mark, 10 pairs of underwear, 15 pairs of socks, 1 Carolina Panthers’
      hooded sweatshirt, DC to AC power converter, 2 auxiliary cables, 3 micro
      USB cables, 3 car charging USB plugs, and approximately $20 in change.”




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 20 of 47
             c.   “The proposed Chapter 13 plan in this case provides for the
      full redemption of the debt due to Carolina Finance as required by N.C.
      Gen. Stat. section 25‐9‐623 (formerly N.C. Gen. Stat. section 25‐9‐506),
      whereby Carolina Finance is adequately protected.”

            d.      “The recovery of the Dodge Ram and the Debtor’s Personal
      Belongings is essential to the rehabilitative purpose of this Chapter 13 case
      and also the fresh start benefit of bankruptcy; and that as a consequence of
      having lost the possession and use of the Dodge Ram and the Debtor’s
      Personal Belongings, the Debtor is suffering immediate and irreparable
      injury, loss, and damage.”

             e.     “Therefore, just cause exists to compel said creditor to
      immediately turn over the Dodge Ram to the Debtor and to make all best
      efforts to recover and return the Personal Belongings to the Debtor.”

Docket # 18.

      98.      The Order for Turnover ordered:

               The motion of the Debtor be, and hereby is, granted,
               and that therefore, Carolina Finance is hereby ordered
               to immediately turn over possession of the Dodge Ram
               to the Debtor.
               ***
               Carolina Finance shall make all best efforts to recover
               and return the Personal Belongings to the Debtor with
               all parties not waiving their rights to pursue other
               damages or defenses at some later time.

               Carolina Finance shall be paid through the Chapter 13
               plan as a secured creditor at full redemption value,
               provided that Carolina Finance files a valid Proof of
               Claim.

Docket # 18.



        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 21 of 47
      99.    Upon information and belief, Manheim obtained possession of the

Vehicle while Mr. Kreuz’s mother’s ashes were still in the Vehicle.

      100.   Upon information and belief, Manheim obtained possession of the

Vehicle while Mr. Kreuz’s personal property was still in the Vehicle.

      101.   Upon information and belief, an employee or agent of Carolina

Finance removed Mr. Kreuz’s mother’s ashes from the Vehicle.

      102.   Upon information and belief, an employee or agent of Carolina

Finance did not maintain Mr. Kreuz’s mother’s ashes.

      103.   Upon information and belief, an employee or agent of Carolina

Finance removed Mr. Kreuz’s personal property from the Vehicle.

      104.   Upon information and belief, an employee or agent of Carolina

Finance did not maintain Mr. Kreuz’s personal property.

      105.   Upon information and belief and/or alternatively, an employee or

agent of NC Recovery removed Mr. Kreuz’s mother’s ashes from the Vehicle.

      106.   Upon information and belief and/or alternatively, an employee or

agent of NC Recovery did not maintain Mr. Kreuz’s mother’s ashes.

      107.   Upon information and belief and/or alternatively, an employee or

agent of NC Recovery removed Mr. Kreuz’s personal property from the Vehicle.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 22 of 47
      108.   Upon information and belief and/or alternatively, an employee or

agent of NC Recovery did not maintain Mr. Kreuz’s personal property.

      109.   Upon information and belief and/or alternatively, an employee or

agent of Manheim removed Mr. Kreuz’s mother’s ashes from the Vehicle.

      110.   Upon information and belief and/or alternatively, an employee or

agent of Manheim did not maintain Mr. Kreuz’s mother’s ashes.

      111.   Upon information and belief and/or alternatively, an employee or

agent of Manheim removed Mr. Kreuz’s personal property from the Vehicle.

      112.   Upon information and belief and/or alternatively, an employee or

agent of Manheim did not maintain Mr. Kreuz’s personal property.

      113.   Since the entry of the Order for Turnover, no Defendant has

provided any information to Mr. Kreuz or his attorneys regarding the

whereabouts of his personal property, including his mother’s ashes.

      114.   Since the entry of the Order for Turnover, no Defendant has

provided any information to Mr. Kreuz or his attorneys regarding their “best

efforts to recover and return the Personal Belongings to the Debtor.”

      115.   After obtaining possession of the Vehicle after entry of the Order for

Turnover, Mr. Kreuz observed that the Vehicle’s door‐locking mechanism




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 23 of 47
functioned at a level significantly lower than it had functioned prior to when one

or more Defendants or their agents repossessed the Vehicle.

      116.   After obtaining possession of the Vehicle after entry of the Order for

Turnover, Mr. Kreuz observed that the Vehicle’s door‐locking mechanism was

damaged, although it had not been damaged prior to when one or more

Defendants or their agents repossessed the Vehicle.

      117.   After obtaining possession of the Vehicle after entry of the Order for

Turnover, Mr. Kreuz observed that the Vehicle’s front axle functioned at a level

significantly lower than it had functioned prior to when one or more Defendants

or their agents repossessed the Vehicle.

      118.   After obtaining possession of the Vehicle after entry of the Order for

Turnover, Mr. Kreuz observed that the Vehicle’s front axle is damaged, although

it had not been damaged prior to when one or more Defendants or their agents

repossessed the Vehicle.

      119.   At no point in time did any of the Defendants contact Mr. Kreuz to

advise him of the availability of the personal property inside his Vehicle nor any

availability for him to remove or otherwise retrieve that personal property.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 24 of 47
      120.   At no point in time did Mr. Kreuz have an opportunity to remove or

otherwise retrieve his personal property from his Vehicle or from any Defendant

that had possession of his personal property.

      121.   As of the time of this filing, Mr. Kreuz’s personal property,

including his mother’s ashes, have not been returned by any Defendant.

      122.   Upon information and belief, one or more of the Defendants or their

agents removed Mr. Kreuz’s personal property from the Vehicle.

      123.   Upon information and belief, one or more of the Defendants or their

agents disposed of Mr. Kreuz’s personal property.

      124.   Upon information and belief, one or more of the Defendants or their

agents retained possession of Mr. Kreuz’s personal property.

      125.   Upon information and belief, one or more of the Defendants or their

agents caused damage to the Vehicle’s door‐locking mechanisms.

      126.   Upon information and belief, one or more of the Defendants or their

agents caused damage to the Vehicle’s front axle.

      127.   Defendants violated their contractual duty to Mr. Kreuz to store his

personal property, including his mother’s ashes.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 25 of 47
      128.   As of the time of this filing, no information has been provided by

Defendants or Attorney Leigh regarding what steps, if any, were taken by any of

the Defendants to locate Mr. Kreuz’s mother’s ashes, his Bible, his mother’s

photograph, and his other personal property.

      129.   Upon information and belief, one or more of the Defendants

disposed of Mr. Kreuz’s mother’s ashes, despite them being in a container clearly

labeled as containing human remains.

      130.   Without yet knowing any additional information behind any of the

Defendants’ motivations to dispose of or retain possession of clearly labeled

human remains, Mr. Kreuz cannot be sure if the Defendants initially withheld his

mother’s ashes in order to coerce him into paying the alleged balance on the

vehicle loan.

      131.      “[T]he holding of the body after the time for its cremation has

passed, and claiming to hold it as a guaranty or as security for the payment of

some indebtedness, is making a misuse of the body, just the same as its

mutilation or improper burial.” Gadbury v. Bleitz, 233 P. 299, 300 (Wash. 1925)

      132.   In North Carolina:




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 26 of 47
             It is a Class I felony, without authorization of law or the
             consent of the surviving spouse or next of kin of the
             deceased, to knowingly and willfully:

             (1) Open, disturb, destroy, remove, vandalize or
             desecrate any casket or other repository of any human
             remains, by any means including plowing under,
             tearing up, covering over or otherwise obliterating or
             removing any grave or any portion thereof.

N.C.Gen.Stat. § 14‐149(a).

      133.   “[T]he burial of the dead is a subject which interests the feelings of

mankind to a much greater degree than many matters of actual property. There

is a duty imposed by the universal feelings of mankind to be discharged by some

one towards the dead; a duty, and we may also say a right, to protect from

violation; and a duty on the part of others to abstain from violation; it may

therefore be considered as a sort of quasi property, and it would be discreditable

to any system of law not to provide a remedy in such a case.” Floyd v. A. Coast

Line Ry. Co., 83 S.E. 12, 12 (N.C. 1914) quoting Pierce v. Proprietors of Swan Point

Cemetery, 10 R.I. 227, 237–38 (1872).

      134.   “[T]he right to bury a corpse and preserve its remains is a legal right,

which the courts will recognize and protect, and any violation of it will give rise

to an action for damages.” Kyles v. S. Ry. Co., 61 S.E. 278, 280 (N.C. 1908). “Where

the rights of one legally entitled to the custody of a dead body are violated by



         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 27 of 47
mutilation of the body or otherwise, the party injured may in an action for

damages recover for the mental suffering caused by the injury.” Id.

      135.   “Our law recognizes that the next of kin has a quasiproperty right in

the body‐not property in the commercial sense but a right of possession for the

purpose of burial‐and that there arises out of this relationship to the body an

emotional interest which should be protected and which others have a duty not

to injure intentionally or negligently. The rights of one legally entitled to its

custody are violated if another unlawfully withholds the dead body from him…”

Parker v. Quinn‐McGowen Co., 138 S.E.2d 214, 215–16 (N.C. 1964).

      136.   “Burial rites or their counterparts have been respected in almost all

civilizations from time immemorial. See generally *168 26 Encyclopaedia

Britannica 851 (15th ed.1985) (noting that “[t]he ritual burial of the dead” has

been practiced “from the very dawn of human culture and ... in most parts of the

world”); 5 Encyclopedia of Religion 450 (1987) (“[F]uneral rites ... are the

conscious cultural forms of one of our most ancient, universal, and unconscious

impulses”). They are a sign of the respect a society shows for the deceased and

for the surviving family members. The power of Sophoclesʹ story in Antigone

maintains its hold to this day because of the universal acceptance of the heroineʹs




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 28 of 47
right to insist on respect for the body of her brother. See Antigone of Sophocles, 8

Harvard Classics: Nine Greek Dramas 255 (C. Eliot ed.1909).” Natl. Archives and

Records Admin. v. Favish, 541 U.S. 157, 167–68 (2004).

      137.   “For any mutilation of a dead body the one entitled to its custody

may recover compensatory damages for his mental suffering caused thereby if

the mutilation was either intentionally or negligently committed, Morrow v.

Southern R. R., 213 N.C. 127, 195 S.E. 383, or was done by an unlawful autopsy. If

defendantʹs conduct was wilful or wanton, actually malicious, or grossly

negligent, punitive damages may also be recovered.” Parker v. Quinn‐McGowen

Co., 138 S.E.2d 214, 216 (N.C. 1964). “…and punitive damages, also, if the jury

find that such conduct was willful and wanton, or in reckless indifference to the

rights and feelings of the plaintiff and to their own duties.” Kyles v. S. Ry. Co., 61

S.E. 278, 281 (N.C. 1908).

      138.   “Other states, and other courts, have similarly recognized the rights

and protections afforded by law to funerals and burials. See, e.g., Holland v.

Metalious, 105 N.H. 290, 198 A.2d 654, 656 (1964) (“The right to ‘decent’ burial is

one which has long been recognized at common law, and in which the public as

well as the individual has an interest”); King v. Elrod, 196 Tenn. 378, 268 S.W.2d




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 29 of 47
103, 105 (1953) (“[T]he right to decent burial is well guarded by the law, and

relatives of a deceased are entitled to insist upon legal protection for any

disturbance or violation of this right.” (citation omitted)); Koerber v. Patek, 123

Wis. 453, 102 N.W. 40, 43 (1905) (“We can imagine no clearer or dearer right in

the gamut of civil liberty and security than to bury our dead in peace and

unobstructed.... [N]one where the law need less hesitate to impose upon a willful

violator responsibility for the uttermost consequences of his act.”); cf. Snyder v.

Phelps –––U.S. ––––, ––––, 131 S.Ct. 1207, 1227–1228, 179 L.Ed.2d 172 (2011)

(Alito, J., dissenting) (explaining that “the emotional well‐being of bereaved

relatives is particularly vulnerable” at funerals because intrusions “may

permanently stain their memories of the final moments before a loved one is laid

to rest,” and, as a result, “funerals are unique events at which special protection

against emotional assaults is in order”); Natʹl Archives *276 & Records Admin. v.

Favish, 541 U.S. 157, 167–70, 124 S.Ct. 1570, 158 L.Ed.2d 319 (2004) (noting that

“[b]urial rites or their counterparts have been respected in almost all civilizations

from time immemorial,” and further noting that funerals “are a sign of the

respect a society shows for the deceased and for the surviving family




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 30 of 47
members”).”     Russ   v.   Causey,   468   Fed.   Appx.   267,   275–76    (4th   Cir.

2012)(unpublished).

      139.    Mr. Kreuz has suffered and been injured as a result of Defendants’

and their agents’ conduct.

      140.    Defendants and their agents have caused Mr. Kreuz to be unable to

carry out his mother’s wishes as to the final disposition of her remains.

      141.    Defendants and their agents have caused Mr. Kreuz to be unable to

create the jewelry from his mother’s remains that he had intended to give to his

nieces (his mother’s granddaughters).

      142.    Each Defendant’s and each of their agents’ disrespectful treatment

and disposal of Mr. Kreuz’s mother’s ashes is abhorrent and inconsistent with

the sanctity with which any thoughtful person would treat human remains.

      143.    Each Defendant’s conduct and each Defendant’s agents’ conduct

was inconsistent with the State of North Carolina’s history of respect for human

remains.

      144.    Each Defendant’s conduct and each Defendant’s agents’ conduct

was inconsistent with the State of North Carolina’s history of protecting those

few persons legally permitted to fulfill the wishes of the departed.




           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 31 of 47
      145.   Each Defendant’s conduct and each Defendant’s agents’ conduct

offends established public policy of the State of North Carolina.

      146.   Each Defendant’s conduct and each Defendant’s agents’ conduct

was and is immoral, unethical, oppressive, unscrupulous, unconscionable, and

substantially injurious to consumers.

      147.   Each Defendant’s and each Defendant’s agents engaged in conduct

amounting to an inequitable assertion of their power or position.

      148.   Each Defendant’s conduct and each Defendant’s agents’ conduct

demonstrates their reckless disregard for and indifference to the sanctity of Mr.

Kreuz’s mother’s ashes, to Mr. Kreuz’s rights with respect to the burial and

ultimate disposition of his mother’s ashes, and to their own responsibilities and

duties to a person still grieving the loss of his mother, as clearly evidenced by his

possession of her ashes.

      149.   Each Defendant’s conduct and each Defendant’s agents’ conduct

demonstrates their reckless disregard for and indifference to Mr. Kreuz’s rights

and feelings.

      150.   Each Defendant’s conduct and each Defendant’s agents’ conduct

demonstrates their reckless disregard for “all those emotions that men and




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 32 of 47
women hold for sacred in the disposition of their dead.” Mills v. Carolina

Cemetery Park Corp., 86 S.E.2d 893, 898 (N.C. 1955).

      151.   By withholding from Mr. Kreuz the personal property that had been

in the Vehicle, Defendants and their agents exercised control over property of the

bankruptcy estate and attempted to recover a claim against the debtor that arose

before Mr. Kreuz’s Petition was filed.

      152.   By disposing of the personal property that had been in the Vehicle,

Defendants and their agents exercised control over property of the estate.

      153.   By retaining possession of the personal property that had been in the

Vehicle, Defendants and their agents exercised control over property of the

estate.

      154.   By assuming and exercising the right of ownership over the personal

property that had been in the Vehicle, Defendants and their agents exercised

control over property of the estate.

      155.   Defendants and their agents seized and refused to turn over Mr.

Kreuz’s personal property. Without authorization, they assumed and exercised

the right of ownership over Mr. Kreuz’s personal property to the exclusion of

Mr. Kreuz’s rights.




          Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 33 of 47
      156.   Mr. Kreuz had actual possession of his personal property at the time

of Defendants’ and their agents’ trespass.

      157.   Mr. Kreuz had constructive possession of his personal property at

the time of Defendants’ and their agents’ trespass.

      158.   Defendants and their agents unlawfully and without authorization

interfered with Mr. Kreuz’s property.

      159.   Defendants and their agents unlawfully and without authorization

dispossessed Mr. Kreuz of his property.

      160.   At all times, Mr. Kreuz has had a right to present possession of the

personal property that had been in the Vehicle.

      161.   At all times, Mr. Kreuz has had a right to immediate possession of

the personal property that had been in the Vehicle.

      162.   Defendants and their agents caused Mr. Kreuz’s property to be

impaired as to condition, quality, and value.

      163.   Defendants and their agents caused Mr. Kreuz to be deprived of his

personal property for a substantial period of time.

      164.   Defendants and their agents had no lawful excuse not to deliver Mr.

Kreuz’s personal property to him.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 34 of 47
      165.   “Conversion may occur when a valid repossession of collateral

results in an incidental taking of other property, unless the loan agreement

includes the debtorʹs consent to the incidental taking.” Eley v. Mid/E. Acceptance

Corp. of N.C., Inc., 614 S.E.2d 555, 559 (N.C. App. 2005). See also In re Randle, 2018

WL 4211158, *3 (Bankr. M.D.N.C. Sep. 4, 2018) (“[T]he Defendant seized and

refused to turn over personal property worth over $4,000.00 that was not its

collateral, including a personal electric scooter that Mrs. Randle needed for her

mobility.”); Rea v. Universal C.I.T. Credit Corp., 257 N.C. 639, 642 (1962) (plaintiff

entitled to new trial on conversion claim when trial court failed to submit

question to jury whether, at the time of repossession, plaintiffʹs car contained

tools belonging to plaintiff); Kitchen v. Wachovia Bank & Trust Co., N.A., 44

N.C.App. 332, 334 (1979) (denying lenderʹs motion for summary judgment on

issue of conversion when lender repossessed plaintiffʹs mobile home containing

her personal property in which lender did not have security interest).

      166.   It is not necessary to demand the return of personal property in

order to show conversion. Indeed, “the general rule is that ‘where some other

independent act of conversion can be shown, there is no necessity for a demand

for personal property by the person claiming ownership or right to possession,




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 35 of 47
and a refusal by the original taker thereof to deliver it, in order to show a

conversion of the property.’ 89 C.J.S. Trover & Conversion s 55 (1955). A demand

and refusal is merely one means of showing a conversion; a demand and refusal

is unnecessary when there has been a wrongful taking. Id.” Kitchen v. Wachovia

Bank & Tr. Co., N.A., 260 S.E.2d 772, 773 (N.C. App. 1979).

      167.   Each Defendant’s conduct and each Defendant’s agents’ conduct,

including their unlawful retention and disposal of Mr. Kreuz’s mother’s ashes,

was extreme and outrageous.

      168.   Each Defendant’s conduct and each Defendant’s agents’ conduct,

including their unlawful retention and disposal of Mr. Kreuz’s mother’s ashes,

was so outrageous in character and so extreme in degree that it went beyond all

possible bounds of decency.

      169.   Each Defendant’s conduct and each Defendant’s agents’ conduct,

including their unlawful retention and disposal of Mr. Kreuz’s mother’s ashes, is

atrocious and intolerable in a civilized community.

      170.   Each Defendant’s conduct and each Defendant’s agents’ conduct,

including their unlawful retention and disposal of Mr. Kreuz’s mother’s ashes,




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 36 of 47
was intended to cause and did cause Mr. Kreuz to suffer severe emotional

distress and mental anguish.

      171.   Each Defendant’s conduct and each Defendant’s agents’ conduct,

including their unlawful retention and disposal of Mr. Kreuz’s mother’s ashes,

was done with reckless indifference to the likelihood that severe emotional

distress and mental anguish may result.

      172.   Defendants and each Defendant’s agents, when unlawfully retaining

and disposing of Mr. Kreuz’s mother’s ashes, knew that severe emotional

distress and mental anguish would be certain or substantially certain to result

from their conduct.

      173.   Defendants and each Defendant’s agents, when unlawfully retaining

and disposing of Mr. Kreuz’s mother’s ashes, acted recklessly in deliberate

disregard of a high degree of probability that severe emotional distress and

mental anguish would follow.

      174.   Defendants and each Defendant’s agents negligently engaged in

conduct, including their unlawful retention and disposal of Mr. Kreuz’s mother’s

ashes, when it was reasonably foreseeable that such conduct would cause Mr.

Kreuz severe emotional distress and mental anguish.




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 37 of 47
      175.    Defendants and each Defendant’s agents should have known that

their conduct, including unlawfully retaining and disposing of Mr. Kreuz’s

mother’s ashes, would cause Mr. Kreuz severe emotional distress and mental

anguish.

      176.    Defendants’ negligent conduct and the negligent conduct of each

Defendants’ agents proximately caused Mr. Kreuz to suffer severe emotional

distress and mental anguish.

      177.    Plaintiff Stephen Kreuz demands a trial by jury of all claims.

V.    COUNT I – AUTOMATIC STAY, 11 U.S.C. § 362

      178.    Plaintiff repeats, realleges, and incorporates by reference the

foregoing paragraphs.

      179.    With actual notice of Mr. Kreuz’s bankruptcy filing, Defendants and

their agents attempted to recover a claim against the debtor that arose before Mr.

Kreuz’s Petition was filed by retaining his personal property that had been in the

Vehicle at the time they repossessed it, in violation of 11 U.S.C. § 362.

      180.    With actual notice of Mr. Kreuz’s bankruptcy filing, Defendants and

their agents wrongfully exercised control over property of the estate by retaining




           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 38 of 47
and/or disposing of his personal property that had been in the Vehicle at the time

they repossessed it, in violation of 11 U.S.C. § 362.

      WHEREFORE, Plaintiff Stephen Kreuz respectfully requests that judgment

be entered in his favor against Defendants Carolina Finance, LLC, NC Recovery

Services, Inc., and Manheim Remarketing, Inc., for:

      1.      Sanctions for willful violations of the automatic stay;

      2.      Actual damages for willful violations of the automatic stay;

      3.      Punitive damages for their willful violations of the automatic stay,
              for their conscious and intentional disregard of, and indifference to,
              the sanctity of Mr. Kreuz’s mother’s ashes and Mr. Kreuz’s rights
              and feelings with respect to the burial and ultimate disposition of his
              mother’s ashes, which Defendants knew would result in injury to
              Mr. Kreuz, and for their atrocious and intolerable conduct that went
              beyond all possible bounds of decency for a civilized community;

      4.      Costs and reasonable attorney fees for willful violations of the
              automatic stay; and

      5.      Such other and further relief as is just and proper.

VI.   COUNT II – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      181.    Defendants’ conduct and the conduct of each Defendant’s agents,

was extreme and outrageous, was intended to cause and did cause Mr. Kreuz to

suffer severe emotional distress and mental anguish.




           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 39 of 47
      182.   Each Defendant’s conduct and each Defendant’s agents’ conduct

was so outrageous in character and so extreme in degree that it went beyond all

possible bounds of decency.

      183.   Each Defendant’s conduct and each Defendant’s agents’ conduct is

atrocious and intolerable in a civilized community.

      184.   Each Defendant’s conduct and each Defendant’s agents’ conduct

was done with reckless indifference to the likelihood that severe emotional

distress and mental anguish may result.

      WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for costs and actual damages, and for such

other and further relief as is just and proper.

VII. COUNT III – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                        (in the alternative)

      185.   Defendants and each Defendant’s agents negligently engaged in

conduct when it was reasonably foreseeable that such conduct would cause Mr.

Kreuz severe emotional distress and mental anguish.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 40 of 47
      186.    Defendants and each Defendant’s agents should have known that

their conduct would cause Mr. Kreuz severe emotional distress and mental

anguish.

      187.    Defendants’ negligent conduct and the negligent conduct of each

Defendants’ agents proximately caused Mr. Kreuz to suffer severe emotional

distress and mental anguish.

      WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for costs and actual damages, as well as

such other and further relief as is just and proper.

VIII. COUNT IV – UNFAIR OR DECEPTIVE ACTS OR PRACTICES

      188.    Each Defendant’s conduct and each Defendant’s agents’ conduct

was unfair and deceptive.

      189.    Each Defendant’s conduct and each Defendant’s agents’ conduct

offends established public policy.

      190.    Each Defendant’s conduct and each Defendant’s agents’ conduct

was immoral, unethical, oppressive, unscrupulous, unconscionable, and

substantially injurious to consumers.




           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 41 of 47
      191.   Each Defendant’s conduct and each Defendant’s agents’ conduct

amounted to an inequitable assertion of their power or position.

      WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for actual damages, trebeled by

N.C.Gen.Stat. § 75‐16, costs, and attorney fees, as well as such other and further

relief as is just and proper.

IX.   COUNT V – DETINUE

      192.   At the time that the Vehicle was repossessed and all times thereafter

continuing through the present, Mr. Kreuz was entitled to immediate possession

of the personal property that was in the Vehicle.

      193.   Upon repossession of the Vehicle and continuing thereafter,

Defendants and their agents were in actual possession of the personal property

that was in the Vehicle.

      194.   Upon demand, Defendants and their agents failed or refused and

have continued to fail or refuse to deliver to Mr. Kreuz the personal property

that was in the Vehicle.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 42 of 47
      WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., ordering a return of the personal property

that was inside the Vehicle at the time of repossession, for costs and actual

damages, and for such other and further relief as is just and proper.

X.    COUNT VI – CONVERSION

      195.   Defendants and their agents, without authorization, assumed and

exercised the right of ownership over Mr. Kreuz’s personal property that was in

the Vehicle to the exclusion of the rights of Mr. Kreuz.

      196.   Defendants and their agents wrongfully deprived Mr. Kreuz of his

personal property.

      197.   Mr. Kreuz did not consent, by contract or otherwise, to the

incidental taking.

      198.   No Defendant, nor any of their agents, had a security interest in the

personal property that was in the Vehicle at the time of repossession.

      199.   The Defendants’ and their agents’ repossession of collateral resulted

in an incidental taking of Mr. Kreuz’s personal property.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 43 of 47
      200.   Defendants and their agents have continued to possess Mr. Kreuz’s

personal property and/or have exercised control over his personal property by

disposing of his personal property.

      WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for costs and actual damages, as well as

such other and further relief as is just and proper.

XI.   COUNT VII – TRESPASS TO CHATTEL

      201.   Mr. Kreuz had actual possession of his personal property at the time

of Defendants’ and their agents’ trespass.

      202.   Mr. Kreuz had constructive possession of his personal property at

the time of Defendants’ and their agents’ trespass.

      203.   Defendants and their agents unlawfully and without authorization

interfered with Mr. Kreuz’s property.

      204.   Defendants and their agents unlawfully and without authorization

dispossessed Mr. Kreuz of his property.

      205.   At all times, Mr. Kreuz has had a right to present possession of the

personal property that had been in the Vehicle.




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 44 of 47
       206.   At all times, Mr. Kreuz has had a right to immediate possession of

the personal property that had been in the Vehicle.

       207.   Defendants and their agents caused Mr. Kreuz’s property to be

impaired as to condition, quality, and value.

       208.   Defendants and their agents caused Mr. Kreuz to be deprived of his

personal property for a substantial time.

       WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for costs and actual damages, as well as

such other and further relief as is just and proper.

XII.   COUNT VIII – NORTH CAROLINA DEBT COLLECTION ACT

       209.   Each Defendant and each Defendant’s agent attempted to collect a

debt from Mr. Kreuz

       210.   Each Defendant and each Defendant’s agent collected or attempted

to collect a debt by means of any unfair threat, coercion, or attempt to coerce, in

violation of N.C.Gen.Stat. § 75‐51.

       211.   Each Defendant and each Defendant’s agent used any conduct, the

natural consequence of which is to oppress, harass, or abuse any person in




         Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 45 of 47
connection with the attempt to collect a debt, in violation of N.C.Gen.Stat. § 75‐

52.

         212.   Each Defendant and each Defendant’s agent collected or attempted

to collect a debt by use of unconscionable means, in violation of N.C.Gen.Stat. §

75‐55.

         213.   Each Defendant’s conduct and each Defendant’s agents’ conduct

offends established public policy.

         214.   Each Defendant’s conduct and each Defendant’s agents’ conduct is

immoral, unethical, oppressive, unscrupulous, unconscionable, and substantially

injurious to consumers.

         215.   Each Defendant’s conduct and each Defendant’s agents’ conduct

amounted to an inequitable assertion of their power or position.

         WHEREFORE, Plaintiff Stephen Kreuz requests that judgment be entered

in his favor against Defendants Carolina Finance, LLC, NC Recovery Services,

Inc., and Manheim Remarketing, Inc., for actual damages, trebeled by

N.C.Gen.Stat. § 75‐16, civil penalties not less than five hundred dollars nor

greater than four thousand dollars for each violation, costs, and attorney fees, as

well as such other and further relief as is just and proper.




           Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 46 of 47
December 6, 2021             LAW OFFICES OF JOHN T. ORCUTT, P.C.

                             /s/ Craig M. Shapiro_____________
                             Craig M. Shapiro (State Bar # 48887)
                             Koury L. Hicks (State Bar # 36204)
                             Jeremy Harn (State Bar # 50756)
                             1738 Hillandale Road, Suite D
                             Durham, North Carolina 27705
                             (919) 286‐1695
                             cshapiro@johnorcutt.com
                             khicks@johnorcutt.com
                             jharn@johnorcutt.com

                             ATTORNEYS FOR PLAINTIFF




        Case 5:21-cv-00497-M Document 1 Filed 12/06/21 Page 47 of 47
